                                                           Case 18-31137-KKS       FORM
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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES

Case No.:                     18-31137                                                                                          Trustee Name:                            Karin A. Garvin
Case Name:                    MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                       Date Filed (f) or Converted (c):         12/12/2018 (f)
For the Period Ending:        06/30/2019                                                                                        §341(a) Meeting Date:                    02/07/2019
                                                                                                                                Claims Bar Date:                         05/16/2019
                                 1                                     2                      3                           4                        5                                         6

                      Asset Description                             Petition/        Estimated Net Value               Property              Sales/Funds                Asset Fully Administered (FA)/
                       (Scheduled and                             Unscheduled       (Value Determined by               Abandoned             Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                          Value                 Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

Ref. #
1        4273 Dana St Pace FL 32571-2009                              $82,630.00                         $0.00                                           $0.00                                           FA
Asset Notes:      Debtors amended schedules to exempt hs
2        2009 Nissan Rogue S SUV (4-Door) Mileage:                     $5,106.00                         $0.00                                           $0.00                                           FA
         72000 Other Information: VIN
         JN8AS58TX9W057783 Dent in 1/4 Panel,
         Average Condition
3        Make: Kia Model: Soul (Base) Year: 2016                      $11,366.00                         $0.00                                           $0.00                                           FA
         Mileage: 29000 Other Information: VIN
         KNDJN2A20G7852898 Average/Good Codition
4        Make: Jeep Wrangler X (4.0L L6 Model: OHV                     $4,586.00                         $0.00                                           $0.00                                           FA
         12V) Year: 2005 Mileage: 100000 Other
         Information: VIN 1J4FA39S95P338910 Needs
         complete brake job/ Average Condition
5        Make: Runaway Campers Model: CoolCamp                         $2,500.00                     $1,500.00                                         $200.00                                    $2,300.00
         Year: 2017 Other Information: VIN
         1R9R1E810H1749316
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                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES

Case No.:                      18-31137                                                                                       Trustee Name:                           Karin A. Garvin
Case Name:                     MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                    Date Filed (f) or Converted (c):        12/12/2018 (f)
For the Period Ending:         06/30/2019                                                                                     §341(a) Meeting Date:                   02/07/2019
                                                                                                                              Claims Bar Date:                        05/16/2019
                                  1                                   2                     3                           4                        5                                        6

                      Asset Description                            Petition/       Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                       (Scheduled and                            Unscheduled      (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
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                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)

6       1 Loveseat $50 2 Recliners (Broken) $20 for                    $795.00                         $0.00                                          $0.00                                           FA
        both 2 End Tables $20 for both 2 Night Side
        Tables $20 for both 1 Washing Machine at least
        5 years old $75 1 Clothes Dryer also at least 5
        years old $50 1 Media Cabinet (Damaged) $5 1
        Buffet/Hutch type piece of furniture $25 Misc.
        Kitchenwares $25 1 Floor Lamp $5 2
        Refrigerators $100 for both 1 Dining Table with
        4 Chairs $50 1 Dishwasher $25 1 Stove/Oven
        $50 1 Microwave $5 1 Toaster $3 1 Crockpot
        $3 1 Coffee Pot $4 2 Beds and bedding, 1 bed
        has a headboard and foot board $100 for both,
        including head and foot boards. 2 Bedroom
        Dressers $50 for both 2 Desks $50 for both 2
        Desk Chairs $10 for both1 Chest $10 1 Curio
        Cabinet $25 6 Bookshelves and used books $50
        1 Folding type table $5 Misc. Linens $20
7       1 42 inch Television $50 1 19 inch Television                  $200.00                         $0.00                                          $0.00                                           FA
        $10 3 DVD Players $15 1 X-Box with
        accessories $10 Laptop Computer $60 Misc.
        used CD's and DVD's $55
8       Pictures of Family $25 Wall Hanging (Printed                   $100.00                         $0.00                                          $0.00                                           FA
        Art) $25 Music Box $25 Misc. Various
        nominally valued Knick Knack home/office decor
        items $25
9       AR-15 type rifle by Diamondback (cost $489)                    $400.00                         $0.00                                          $0.00                                           FA
        $250 9MM Sccy $100 .22 Semi Automatic (cost
        $100) $50
10      Various personal clothing and wardrobe related                 $200.00                         $0.00                                          $0.00                                           FA
        accessory, including shoes, purses, costume
        jewlery items , etc. worn/used by Debtors.
        $200.00
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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES

Case No.:                      18-31137                                                                                          Trustee Name:                           Karin A. Garvin
Case Name:                     MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                       Date Filed (f) or Converted (c):        12/12/2018 (f)
For the Period Ending:         06/30/2019                                                                                        §341(a) Meeting Date:                   02/07/2019
                                                                                                                                 Claims Bar Date:                        05/16/2019
                                  1                                    2                       3                           4                        5                                        6

                      Asset Description                             Petition/         Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                       (Scheduled and                             Unscheduled        (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                  Unscheduled (u) Property)                          Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

11      1 Wedding Ring that originally cost approx. $100                   $25.00                         $0.00                                          $0.00                                           FA
        (damaged) $25
12      1 Dog $1 1 Cat $1                                                   $2.00                         $0.00                                          $0.00                                           FA
13      Misc. used ordinary Household Tools; including                  $300.00                        $300.00                                           $0.00                                     $300.00
        Misc. Used Screwdrivers, Misc. Used Wrenches
        $10 (hammer/drill etc.) $50 Misc. Used Small
        Riding Lawn Mower $200 Hearing Aid $50
14      Checking Account Checking account at Navy                           $1.08                         $0.00                                          $0.00                                           FA
        Federal Credit Union Last 4 of Act. # (0721)
        Balance: $1.08
15      Checking Account Checking account at Navy                      $2,825.62                      $2,825.62                                          $0.00                                           FA
        Federal Credit Union Last 4 of Act. # (2107)
        Balance: $2,825.62
16      Checking Account Daughter's Checking account                        $0.00                         $0.00                                          $0.00                                           FA
        at Navy Federal Credit Union Last 4 of Act. #
        (3303) Balance: $1.08
17      Savings Account Savings account at Navy                             $5.07                         $5.07                                          $0.00                                           FA
        Federal Credit Union Last 4 of Act. # (9087)
        Balance: $5.07
18      Savings Account Savings account at Navy                             $0.04                         $0.00                                          $0.00                                           FA
        Federal Credit Union Last 4 of Act. # (0564)
        Balance: $.04
19      Checking Account Checking account at FNBA                       $148.73                        $148.73                                           $0.00                                           FA
        Checking Last 4 of Act. # (0937) Balance:
        $148.73
20      Checking Account Son's Checking account at                          $0.00                         $0.00                                          $0.00                                           FA
        FNBA Last 4 of Act. # (1067) Balance: $480.27
21      Sole shareholder of all shares of Accent USA                        $1.00                         $0.00                                          $0.00                                           FA
        LLC, a Florida Corporation. This corporation is
        not active. 100.00
                                                             Case 18-31137-KKS           FORM
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                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES

Case No.:                      18-31137                                                                                                              Trustee Name:                            Karin A. Garvin
Case Name:                     MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                                           Date Filed (f) or Converted (c):         12/12/2018 (f)
For the Period Ending:         06/30/2019                                                                                                            §341(a) Meeting Date:                    02/07/2019
                                                                                                                                                     Claims Bar Date:                         05/16/2019
                                   1                                              2                                3                           4                        5                                         6

                      Asset Description                                      Petition/                    Estimated Net Value               Property              Sales/Funds                Asset Fully Administered (FA)/
                       (Scheduled and                                      Unscheduled                   (Value Determined by               Abandoned             Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                   Value                             Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

22      Sole Shareholder of a Florida Corporation                                      $1.00                                  $0.00                                           $0.00                                             FA
        "Speech Therapy Live". Assets are listed on this
        Schedule Question 44-Other Business Property
        100.00
23      401(k) or Similar Plan American Funds                                    $4,219.72                                $4,219.72                                           $0.00                                             FA
24      401(k) or Similar Plan Pruitt Health                                     $2,115.74                                $2,115.74                                           $0.00                                             FA
25      401(k) or Similar Plan TLC Rehab                                              $44.45                                 $44.45                                           $0.00                                             FA
26      Thrift Savings Account Federal Retirement                                  $471.24                                 $471.24                                            $0.00                                             FA
        Thrift Savings Plan
27      Retirement Account ESOP Retirement Plan                                 $39,030.08                              $39,030.08                                            $0.00                                             FA
28      Florida Pre-paid College *Estimated                                      $1,500.00                                $1,500.00                                           $0.00                                             FA
29      2 domain names: speechtherapylive.com,                                         $1.00                                  $0.00                                           $0.00                                             FA
        preschoolmusiclessons.com (expired)
30      Ameritus Life Insurance Corp 150K Term Life                                    $1.00                                  $1.00                                           $0.00                                             FA
        Policy- No present cash value. Timothy Martin
31      Alumni Insurance Program Term Life Policy- No                                  $1.00                                  $1.00                                           $0.00                                             FA
        present cash value. Nikki Martin
32      Business Checking Account (Speech Therapy                                $1,111.30                                 $600.00                                          $600.00                                           $0.00
        Live, LLC at Navy Federal Credit Union Last 4
        of Act. # (1109 Balance: $461.97 Business
        Savings Account (Speech Therapy Live, LLC at
        Navy Federal Credit Union Last 4 of Act. #
        (7674)) Balance $9.33 1 Laptop Computer $100
        1 Digital Music Keyboard *used for business
        $75 Web Camera $25 Document Camera $25
        Desk $25 Desk Chair $15 Fouton $100 2
       Bookshelves $50 Folding Table $10 19 Inch
       Television Monitor $15 Digital Piano and Bench
       $75 Guitar $50 Violin with Bow and case Cost
       $200 new, $50 Speech Therapy Games and
       Toys $25
Asset Notes:     Amended schedules do not reflect the assets of the business-computers, keyboards etc
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    18-31137                                                                                                 Trustee Name:                           Karin A. Garvin
Case Name:                   MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                              Date Filed (f) or Converted (c):        12/12/2018 (f)
For the Period Ending:        06/30/2019                                                                                              §341(a) Meeting Date:                   02/07/2019
                                                                                                                                      Claims Bar Date:                        05/16/2019
                                 1                                   2                              3                           4                        5                                        6

                     Asset Description                            Petition/                Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled               (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
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                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)



TOTALS (Excluding unknown value)                                                                                                                                                  Gross Value of Remaining Assets
                                                                  $159,688.07                             $52,762.65                                         $800.00                                  $2,600.00



Major Activities affecting case closing:
 06/19/2019    $2400-$200-1st 3/2019
               payments current
               projected closing 12/2020


Initial Projected Date Of Final Report (TFR):   05/15/2020                      Current Projected Date Of Final Report (TFR):                                /s/ KARIN A. GARVIN
                                                                                                                                                             KARIN A. GARVIN
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                                                                                        FORM 2                                                                           Page No: 1
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                         18-31137                                                                                          Trustee Name:                            Karin A. Garvin
Case Name:                       MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                       Bank Name:                               Veritex Community Bank
Primary Taxpayer ID #:           **-***6111                                                                                        Checking Acct #:                         ******3701
Co-Debtor Taxpayer ID #:         **-***6112                                                                                        Account Title:
For Period Beginning:            07/01/2018                                                                                        Blanket bond (per case limit):           $10,870,000.00
For Period Ending:               06/30/2019                                                                                        Separate bond (if applicable):


     1                2                          3                                                     4                                                   5                      6                    7

Transaction      Check /                      Paid to/                         Description of Transaction                           Uniform           Deposit               Disbursement             Balance
   Date           Ref. #                   Received From                                                                           Tran Code            $                        $


03/11/2019           (5)     Timothy Martin                             Payment on PN                                               1129-000               $200.00                      $0.00              $200.00
04/16/2019           (32)    Timothy Martin                             Payment on PN                                               1129-000               $200.00                      $0.00              $400.00
05/13/2019           (32)    Timothy Martin                             Payment on PN                                               1129-000               $200.00                      $0.00              $600.00
06/17/2019           (32)    Tim Martin                                 Payment on PN                                               1129-000               $200.00                      $0.00              $800.00

                                                                                        TOTALS:                                                                $800.00                   $0.00             $800.00
                                                                                            Less: Bank transfers/CDs                                             $0.00                   $0.00
                                                                                        Subtotal                                                               $800.00                   $0.00
                                                                                            Less: Payments to debtors                                            $0.00                   $0.00
                                                                                        Net                                                                    $800.00                   $0.00




                      For the period of 07/01/2018 to 06/30/2019                                                  For the entire history of the account between 03/11/2019 to 6/30/2019

                      Total Compensable Receipts:                          $800.00                                Total Compensable Receipts:                                         $800.00
                      Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                       $0.00
                      Total Comp/Non Comp Receipts:                        $800.00                                Total Comp/Non Comp Receipts:                                       $800.00
                      Total Internal/Transfer Receipts:                      $0.00                                Total Internal/Transfer Receipts:                                     $0.00


                      Total Compensable Disbursements:                       $0.00                                Total Compensable Disbursements:                                     $0.00
                      Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                                 $0.00
                      Total Comp/Non Comp Disbursements:                     $0.00                                Total Comp/Non Comp Disbursements:                                   $0.00
                      Total Internal/Transfer Disbursements:                 $0.00                                Total Internal/Transfer Disbursements:                               $0.00
                                                              Case 18-31137-KKS        Doc 39 Filed 07/24/19              Page 7 of 7
                                                                                       FORM 2                                                                   Page No: 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        18-31137                                                                                      Trustee Name:                         Karin A. Garvin
Case Name:                      MARTIN, TIMOTHY SCOT AND MARTIN, NIKKI LYNN                                                   Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:          **-***6111                                                                                    Checking Acct #:                      ******3701
Co-Debtor Taxpayer ID #:        **-***6112                                                                                    Account Title:
For Period Beginning:           07/01/2018                                                                                    Blanket bond (per case limit):        $10,870,000.00
For Period Ending:              06/30/2019                                                                                    Separate bond (if applicable):


    1                2                           3                                                    4                                             5                     6                    7

Transaction      Check /                     Paid to/                         Description of Transaction                        Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                    $


                                                                                                                                                                              NET               ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                     $800.00                    $0.00              $800.00




                     For the period of 07/01/2018 to 06/30/2019                                               For the entire history of the account between 03/11/2019 to 6/30/2019

                     Total Compensable Receipts:                          $800.00                          Total Compensable Receipts:                                       $800.00
                     Total Non-Compensable Receipts:                        $0.00                          Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                        $800.00                          Total Comp/Non Comp Receipts:                                     $800.00
                     Total Internal/Transfer Receipts:                      $0.00                          Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                       $0.00                          Total Compensable Disbursements:                                    $0.00
                     Total Non-Compensable Disbursements:                   $0.00                          Total Non-Compensable Disbursements:                                $0.00
                     Total Comp/Non Comp Disbursements:                     $0.00                          Total Comp/Non Comp Disbursements:                                  $0.00
                     Total Internal/Transfer Disbursements:                 $0.00                          Total Internal/Transfer Disbursements:                              $0.00




                                                                                                                                               /s/ KARIN A. GARVIN
                                                                                                                                               KARIN A. GARVIN
